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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


LOGAN M. GRIMES,                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
          -vs-                                    )
                                                  )
COUNTY OF COOK, an Illinois                       )    No. 1:19-cv-06091
county, d/b/a COOK COUNTY                         )
HEALTH & HOSPITALS SYSTEM                         )
and/or CERMAK HEALTH SERVICES;                    )
and MELVIN JUDKINS, in his                        )
individual capacity;                              )    Judge Gary S. Feinerman
                                                  )
       Defendants.                                )    Magistrate Judge Jeffrey T. Gilbert


                        PLAINTIFF’S STATEMENT OF ADDITIONAL
                  MATERIAL FACTS PURSUANT TO LOCAL RULE 56.1(b)(3)
                 IN RELATION TO THE MOTION FOR SUMMARY JUDMENT
                   FILED ON BEHALF OF DEFENDANT MELVIN JUDKINS

       NOW COMES the Plaintiff, LOGAN M. GRIMES (hereinafter “Grimes” or “the

Plaintiff”), by and through his attorney, JOANIE RAE WIMMER, and, pursuant to Local Rule

56.1(b)(3), submits this statement of additional material facts in opposition to the motion for

summary judgment filed by Defendant MELVIN JUDKINS (“Judkins”). In the paragraphs

herein, references to the exhibits filed by Defendant MELVIN JUDKINS with his Local Rule

56.1(a)(2) statement of material facts will be to “Defendant Judkins Exhibit” with the letters

assigned by said Defendant to his exhibits. So, for example, a reference to Exhibit C of the

Local Rule 56.1(a)(2) statement of material facts filed by Defendant Judkins will be to

“Defendant Judkins Exhibit C.” References to the exhibits submitted by the Plaintiff with

Plaintiff Logan Grimes’ Response To The Local Rule 56.1(a)(2) Statement Of Material Facts



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Filed By Defendant Melvin Judkins will be to “Plaintiff’s Resp. Exhibit” with the appropriate

number. So, for example, a reference to Exhibit 2 of Plaintiff Logan Grimes’ Response To The

Local Rule 56.1(a)(2) Statement Of Material Facts Filed By Defendant Melvin Judkins will be to

“Plaintiff’s Resp. Exhibit 2.” Finally, reference to the exhibits submitted by the Plaintiff with

this statement of additional facts and attached hereto will be to “Plaintiff’s Add. Exhibit” with

the number assigned to the exhibit herein. In the case of exhibits which are deposition

transcripts, references to page numbers will be to page numbers of the deposition transcripts, and

not to the page numbers assigned by the Court’s CM/ECF system.

       Plaintiff’s Paragraph 1: The Plaintiff was born in 1962 with a vagina, not a penis; he

developed breasts in his teenage years, and, for the first 37 years of his life, lived as a female.

(Affidavit of Logan Grimes, Plaintiff’s Add. Exhibit 1, ¶ 3)

       Plaintiff’s Paragraph 2: In 2000 Grimes was diagnosed with gender identity disorder,

which is now referred to as gender dysphoria (Defendant Judkins Exhibit C, p. 123, lines 3-6),

and in 2003, he commenced hormone therapy, testosterone, to treat his gender dysphoria, and

Grimes is still taking testosterone today (Defendant Judkins Exhibit C, p. 123, lines 13-19;

Plaintiff’s Add. Exhibit 1, ¶ 4; Plaintiff’s Resp. Exhibit 4)

       Plaintiff’s Paragraph 3: Grimes also had chest reconstructive surgery in 2004 and what

they call bottom surgery or gender confirmation surgery in 2006 to treat his gender dysphoria.

(Defendant Judkins Exhibit C, p. 123, line 20-p. 124, line 9; Plaintiff’s Add. Exhibit 1, ¶¶ 5, 6)

       Plaintiff’s Paragraph 4: As a result of the hormone therapy, chest reconstructive surgery

and gender confirmation surgery, by the year 2008 and since then Grimes has appeared

unambiguously male, with a male build, male pattern baldness, and a beard or mustache.

(Plaintiff’s Add. Exhibit 1, ¶ 7)



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        Plaintiff’s Paragraph 5: In 2003 Logan Grimes changed his name from his birth name to

Logan M. Grimes, and by 2004 he had had the sex marker changed from F to M on his driver’s

license and had had the record of his sex with the Social Security Administration changed from

female to male. (Plaintiff’s Add. Exhibit 1, ¶¶ 8, 9)

        Plaintiff’s Paragraph 6: When Grimes transitioned, he worked at Howard Brown Health

Center and, because he transitioned on the job, he had no choice but had to be open about being

transgender. (Judkins Exhibit C, p. 29, lines 6-p. 30, line 2)

        Plaintiff’s Paragraph 7: Commencing in 2008, Grimes kept his transgender status

private, and from then until after September 28, 2018, Grimes did not disclose his transgender

status to anyone but family members. (Plaintiff’s Add. Exhibit 1, ¶ 10)

        Plaintiff’s Paragraph 8: Although Grimes testified that he had publicly told the story of

his transition to different publications, and that he spoke with the Windy City Times or a similar

publication about his transition (Defendant Judkins Exhibit C, p. 127, line 20-p. 128, line 22),

one of the disclosures was after the grievance thing with the county relating to Judkins and the

other occasion was prior to 2008. (Defendant Judkins Exhibit C, p. 127, line 20-p. 129, line 1)

        Plaintiff’s Paragraph 9: In September of 2018, Judkins supervised the correctional

medical technicians who delivered prescribed medications to the detainees in the jail, not more

than 14 people referred to as the med team, including Grimes. (Defendant Judkins Exhibit E, p.

15, line 8-p. 16, line 9; p. 22, line 20-p. 23, line 8)

        Plaintiff’s Paragraph 10: Katie Healy was a correctional medical technician (Katie Healy

deposition transcript, Plaintiff’s Add. Exhibit 2, p. 10, line 17-p. 11, line 11) who worked on the

med team and was supervised by Judkins. (Plaintiff’s Add. Exhibit 2, p. 12, lines 8-17)

        Plaintiff’s Paragraph 11: On September 28, 2018, Healy, Judkins, paramedic Bain, and



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paramedic Centeno were in the back office of the med team, talking about a new guy who was

supposed to start as well as a paramedic named Gierke, and Judkins asked if the others thought

Gierke was gay. (Plaintiff’s Add. Exhibit 2, p. 16, line 4-p. 20, line 11)

       Plaintiff’s Paragraph 12: After discussing whether Gierke was gay, Judkins said, “You

know, like Logan,” and Judkins said, “Yeah, come on—you know—Logan. I worked with him

for a long time and he’s—you know—he’s transgender.” (Plaintiff’s Add. Exhibit 2, p. 20, line

12-p. 21, line 12)

       Plaintiff’s Paragraph 13: At that point in time, protective custody for transgenders was

predominantly in Division 6 of the jail. (Plaintiff’s Add. Exhibit 2, p. 29, lines 1-7)

       Plaintiff’s Paragraph 14: Katie Healy had heard that Grimes was transgender before

September 28, 2018, from another paramedic who used to work on the med team named Beth

Connors. (Plaintiff’s Add. Exhibit 2, p. 31, line 6-p. 32, line 13)

       Plaintiff’s Paragraph 15: Bain, a correctional medical technician on the med team who

was also supervised by Judkins (Kirsten Bain-Norris deposition transcript, Plaintiff’s Add.

Exhibit 3, p. 12, line 1-p. 13, line 7; p. 66, lines 10-17), testified that during the conversation on

September 28, 2018, Judkins said that Grimes is transgender (Plaintiff’s Add. Exhibit 3, p. 24,

line 3-p. 26, line 15), and that, prior to that time, she (Bain) had not heard from anyone that

Grimes was transgender (Plaintiff’s Add. Exhibit 3, p. 36, lines 15-17).

       Plaintiff’s Paragraph 16: Arturo Centeno, who began working on the med team under

Judkins’ supervision in September of 2018 (Arturo Centeno deposition transcript, Plaintiff’s

Add. Exhibit 4, p. 10, line 21-p. 11, line 16), testified at his deposition that the conversation on

September 28, 2018, was a matter that he once knew about but could no longer recall well

enough to testify about fully and accurately (Plaintiff’s Add. Exhibit 4, p. 35, lines 3-8).



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       Plaintiff’s Paragraph 17: Centeno testified, however, that Centeno Deposition Exhibit

No. 1 (Plaintiff’s Add. Exhibit 5) was an email Centeno sent to Mr. Tillar on October 16, 2018.

(Plaintiff’s Add. Exhibit 4, p. 20, lines 3-13)

       Plaintiff’s Paragraph 18: Centeno testified that he wrote the email when the matter was

fresh in his memory, and that the email accurately reflects his knowledge at the time (Plaintiff’s

Add. Exhibit 4, p. 35, lines 9-15), and that John Tillar (the union representative) “just told us to

write what had happened in the room at the time, whatever we remembered and to write an email

and send it to him so there would be a paper trail.” (Plaintiff’s Add. Exhibit 4, p. 36, lines 9-16)

       Plaintiff’s Paragraph 19: Centeno’s email to John Tillar stated as follows:

       “On September 28 2018, I was sitting in one of the med-tech rooms with
       Paramedic Bain and Paramedic Healy inputting meds that we had delivered
       throughout the day when Supervisor Melvin walked into the room and started
       talking to us. The conversation came up about a possible new hire for the team
       which Paramedic Healy and i knew from the EMS world and we began to tell mel
       about his work ethics, then the conversation switched over to a current employer
       who was Paramedic Gireke who i don't know only in passing about his sexuality
       stating that if he was gay. I answered i wasn’t sured but people assume that he is
       and Paramedic Bain stated he was a ricky rescue. Mel stated he reminded him of
       a mountain man which I’m unsure of what that means, then Supervisor Mel
       switched over to a coworker of our Paramedic Logan stating that he had and issue
       in division six ‘ Ive known logan for many years and he has never told but’ thats
       when Healy had given Mel a strong look but he began to proceed ‘ I’m sure they
       know and he looked at me but i sat there with no response because I’ve only
       known logan for a month since I’m new to the department, then he drew his
       attention to Paramedic Bain stating, ‘ Well I’m sure Bain knows, rite bain you
       know’ Healy then responded to mel ‘ i don't think they know mel. He then asked
       the same question and healy responded to the response again. Mel then stated
       ‘ Logan is a transgender thats why he cant go to division six’ I then began to
       make myself look busy because i no longer wanted to be part of the conversation
       because of what was said. Paramedic Bain then stated that she had no idea as
       well as myself. Shortly after Mel left the room”

       (Centeno Deposition Exhibit No. 1, Plaintiff’s Add. Exhibit 5)

       Plaintiff’s Paragraph 20: Centeno testified that he had no reason to believe prior to the

conversation on September 28, 2018, that Grimes is transgender. (Plaintiff’s Add. Exhibit 4, p.

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67, lines 12-16)

        Plaintiff’s Paragraph 21: Grimes never told Judkins that he (Grimes) is transgender and

never gave Judkins permission to disclose his (Grimes’) transgender status to anyone else.

(Plaintiff’s Add. Exhibit 1, ¶ 11)

        Plaintiff’s Paragraph 22: Ashley Austin, Ph.D. an expert witness retained by the

Plaintiff, testified that the statements she wrote in her report in this case are all true to the best of

her knowledge and belief. (Ashley Austin, Ph.D. deposition transcript, Plaintiff’s Add. Exhibit

6, p. 174, lines 14-17)

        Plaintiff’s Paragraph 23: Dr. Austin has a Ph.D. in social work and is a full professor at

Barry University School of Social Work in Miami, Florida, where she is also the Distinguished

Professor for the Center of Human Rights and Social Justice. (Austin report under Fed.R.Civ.P.

26(a)(2), Plaintiff’s Add. Exhibit 7, p. 9)

        Plaintiff’s Paragraph 24: Dr. Austin is also a licensed clinical social worker (LCSW)

with a private practice named Affirmative Change, which is focused on transgender individuals,

where she serves as a therapist providing mental health services. (Plaintiff’s Add. Exhibit 6, p.

25, lines 5-11; p. 40, line 3-p. 41, line 13; p. 56, line 8-p. 57, line 16)

        Plaintiff’s Paragraph 25: Dr. Austin testified that a great part of her practice involves the

initial assessment of gender dysphoria and ongoing assessment to provide letters to clients who

are seeking medical interventions for their gender dysphoria. (Plaintiff’s Add. Exhibit 6, p. 168,

lines 14-22)

        Plaintiff’s Paragraph 26: Dr. Austin testified at her deposition as follows in response to a

question about the part of her practice that involves writing letters to medical doctors about a

client’s gender dysphoria:



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        “In many instances, doctors will only provide gender affirming interventions if
        they -- Well, certainly surgeries, if they receive one, usually, at least one letter
        from a professional like myself. Sometimes they need two letters from two
        different people, so I have written a number of those. In some instances it’s even
        required now for -- for hormone replacement therapy for testosterone or for
        estrogen for trans women. So I have written a number of these letters to different
        medical professionals, who are both endocrinologists and/or surgeons and other
        doctors.”

        (Plaintiff’s Add. Exhibit 6, p. 168, line 23-p. 169, line 15)

        Plaintiff’s Paragraph 27: Dr. Austin has published 33 peer reviewed journal articles

dealing with LGBTQ+ and transgender issues (Plaintiff’s Add. Exhibit 7, pp. 9-12), and she,

herself, is a peer reviewer (Plaintiff’s Add. Exhibit 6, p. 77, line 6-p, 78, line 18)

        Plaintiff’s Paragraph 28: Gender dysphoria is defined in the American Psychiatric

Association’s most recent addition (2013) of the Diagnostic and Statistical Manual of Mental

Disorders 5 (DSM-5) as follows:

        “A marked incongruence between one’s experienced/expressed gender and
        assigned gender, of at least six months’ duration, as manifested by at least two or
        more of the following:

              1. A marked incongruence between one’s experienced/expressed gender
        and primary and/or secondary sex characteristics (or in young adolescents, the
        anticipated secondary sex characteristics)

             2. A strong desire to be rid of one’s primary and/or secondary sex
        characteristics because of a marked incongruence with one’s
        experienced/expressed gender (or in young adolescents, a desire to prevent the
        development of the anticipated secondary sex characteristics)

             3. A strong desire for the primary and/or secondary sex characteristics of
        the other gender

              4. A strong desire to be of the other gender (or some alternative gender
        different from one’s assigned gender)

            5. A strong desire to be treated as the other gender (or some alternative
        gender different from one’s assigned gender)

             6. A strong conviction that one has the typical feelings and reactions of the

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       other gender (or some alternative gender different from one’s assigned gender)

       The condition is associated with clinically significant distress or impairment in
       social, occupational, or other important areas of functioning.”

       (Plaintiff’s Add. Exhibit 7, p. 1, emphasis in original)

       Plaintiff’s Paragraph 29: Dr. Austin stated that it was her expert opinion to a reasonable

degree of certainty in her field that “the disclosure of Mr. Logan Grimes’ transgender status by

his supervisor, Melvin Judkins, to Mr. Grimes’ co-workers is tantamount to the disclosure by Mr.

Judkins of Mr. Grimes’ confidential medical information.” (Plaintiff’s Add. Exhibit 7, p. 2)

       Plaintiff’s Paragraph 30: Dr. Austin explained:

       “In sum, Mr. Grimes is a transgender man who was able to pass and be stealth at
       work as a result of his past (surgical interventions) and ongoing (weekly doses of
       testosterone) medical gender affirming interventions that address his medical
       condition (gender dysphoria). As such, it is clear that the disclosure of Mr.
       Grimes’ transgender identity by his supervisor Mr. Judkins was tantamount to a
       disclosure of Mr. Grimes’ private and confidential medical information, namely
       his issues with gender dysphoria, the corresponding gender dysphoria diagnosis,
       and the confidential medical interventions he has accessed and/or continues to
       access in order to alleviate his gender dysphoria and affirm his masculine gender
       identity. Given that Mr. Grimes is very obviously male presenting, when co-
       workers were told of Mr. Grimes’ transgender identity, the fact that Mr. Grimes
       had transitioned through a range of gender affirming medical interventions would
       become known.”

       Plaintiff’s Add. Exhibit 7, p. 3)

       Plaintiff’s Paragraph 31: Dr. Austin stated also that it was her expert opinion to a

reasonable degree of certainty in her field that “the disclosure of an individual’s transgender

status to others who are unaware of this person’s transgender identity/status has the potential to

cause significant emotional distress and exacerbate the individual’s gender dysphoria”

(Plaintiff’s Add. Exhibit 7, p. 3), and she supported that opinion with reference to a significant

number of peer reviewed studies (Plaintiff’s Add. Exhibit 7, pp. 3-6; 7-8)

       Plaintiff’s Paragraph 32: Judkins, himself, testified that he believed that the assertion that

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Grimes is transgender meant that he had a sex change (Defendant Judkins Exhibit E, p. 80, lines

11-13), and that, if a person gets a sex change, that’s a medical procedure (Defendant Judkins

Exhibit E, p. 79, lines 19-21)

       Plaintiff’s Paragraph 33: Judkins testified that he believed that someone’s transgender

status would be private information which should not be disclosed to others without the

permission of the person involved. (Defendant Judkins Exhibit E, p. 128, lines 1-8)

       Plaintiff’s Paragraph 34: Judkins testified that the Cook County jail is not a safe place for

transgender people if they are not in the protective tier. (Defendant Judkins Exhibit E, p. 112,

line 21-p. 113, line 3)

       Plaintiff’s Paragraph 35: When Grimes worked passing out medicines to the detainees, a

lot of the time he was on the tier by himself, and when Grimes was on the tier in the max unit,

there might be about 45 detainees there in the open area. (Defendant Judkins Exhibit D, p. 333,

line 22-p. 335, line 8)

       Plaintiff’s Paragraph 36: Judkins testified that there are things about himself or his life

that he chooses to keep private, and if his supervisor at work disclosed those things to his

coworkers, that would not make him feel good and could make him sad. (Defendant Judkins

Exhibit E, p. 117, line 5-p. 118, line 3)

       Plaintiff’s Paragraph 37: Grimes testified that, after the incident, he could not return to

work because he felt unsafe. (Defendant Judkins Exhibit C, p. 235, line 14-p. 236, line 5)

       Plaintiff’s Paragraph 38: At his deposition, Grimes was asked what symptoms of

emotional distress he had suffered, and he replied:

       “Sleepless nights. My blood pressure has gone up, you know, nervous about the
       future and providing for my family. Also house, not able to make my payments,
       so my house is going into foreclosure. Those are the kind of things that
       emotionally weigh on a person, safety, next step.”

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       (Defendant Judkins Exhibit D, p. 308, lines 10-17)

       Plaintiff’s Paragraph 39: Grimes testified that it hurts him a lot when he is treated

differently than other people because of an aspect of who he is that he has no control over.

(Defendant Judkins Exhibit D, p. 355, lines 15-19)

       Plaintiff’s Paragraph 40: Judkins teased the men on the med team when they would go to

the tier with transgender detainees, by saying “you know you like that, that’s your kind of

woman,” those types of comments. (Defendant Judkins Exhibit C, p. 165, line 18-p. 166, line

19; p. 157, lines 12-22; p. 178, line 15-p. 179, line 13)

                                                   Respectfully submitted,



                                                   _________/s/ Joanie Rae Wimmer___________
                                                               Joanie Rae Wimmer




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